Case 3:12-cv-01893-MAS-TJB Document 524-1 Filed 06/04/20 Page 1 of 13 PageID: 8170




                     UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF NEW JERSEY


   IN RE NEW JERSEY TAX              Master Docket No.
   SALES CERTIFICATES                3:12-CV-01893-MAS-TJB
   ANTITRUST LITIGATION



         MEMORANDUM OF LAW IN SUPPORT OF PLAINTIFFS’
          MOTION TO AUTHORIZE CY PRES DISTRIBUTION OF
       REMAINING SETTLEMENT FUND, OR, IN THE ALTERNATIVE,
         FOR A SECOND DISTRIBUTION OF SETTLEMENT FUND




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  829258.2
Case 3:12-cv-01893-MAS-TJB Document 524-1 Filed 06/04/20 Page 2 of 13 PageID: 8171




                                           TABLE OF CONTENTS

  TABLE OF AUTHORITIES .................................................................................... ii

  I.         FACTUAL BACKGROUND.......................................................................... 1

  II.        PROPOSED SECOND DISTRIBUTION/CY PRES DISTRIBUTION ......... 3

  III.       PAYMENT TO GILARDI .............................................................................. 8

  IV.        CONCLUSION................................................................................................ 9




                                                              i
  829258.2
Case 3:12-cv-01893-MAS-TJB Document 524-1 Filed 06/04/20 Page 3 of 13 PageID: 8172




                                     TABLE OF AUTHORITIES

  Coleman v. Sentry Insurance,
       (S.D. Ill. No. 15-CV-01411-SMY-SCW) ........................................................ 7

  Fishbein v. All Market, Inc. DBA Vita Coco,
        (S.D.N.Y. No. 11-Civ-5580) ........................................................................... 7

  In re Baby Prod. Antitrust Litig.,
         708 F.3d 163 (3d Cir. 2013) ...................................................................passim

  In re Insurance Brokerage Antitrust Litig.,
         Civ. No. 04-5184 (D.N.J.)(CCC)(ECF No. 2843) .......................................... 6

  In re Lupron Mktg. and Sales Practices Litig.,
         677 F.3d 21 (1st Cir. 2012).............................................................................. 4




                                                          ii
  829258.2
Case 3:12-cv-01893-MAS-TJB Document 524-1 Filed 06/04/20 Page 4 of 13 PageID: 8173




             Plaintiffs respectfully submit this memorandum in support of their motion to

  authorize cy pres distribution of the remaining Net Settlement Fund, or, in the

  alternative, for a second distribution of funds from the Net Settlement Fund to

  claimants.

  I.         FACTUAL BACKGROUND

             On September 30, 2016, the Court granted final approval of the class-action

  settlements between Plaintiffs Gila Bauer as Trustee for the Gila Bauer Revocable

  Trust, Melissa Jacobs, Frances A. Schmidt and Donald W. Schmidt, and Son, Inc.

  (“Plaintiffs”) and 20 Defendant groups1, reached on behalf of the below Settlement



  1
   The complete list of Defendants is: 1) CCTS Capital, LLC n/k/a Crestar Capital,
  LLC and William S. Green (collectively, Crestar Defendants); 2) American Tax
  Funding, LLC; 3) BBX Capital Corporation f/k/a BankAtlantic Bancorp, Inc.,
  Fidelity Tax, LLC, Heartwood 55, LLC, Michael Deluca, Gary I. Branse, and
  David Jelley; 4) Richard Simon Trustee, Betty Simon Trustee and Joseph Wolfson;
  5) Mooring Tax Asset Group, LLC and Lambros Xethalis; 6) Norman T. Remick;
  7) Michael Mastellone; 8) Pat Caraballese and PAM Investors; 9) Robert U. Del
  Vecchio Sr. and Robert U. Del Vecchio Pension Trust; 10) CCTS, LLC, CCTS
  Tax Liens I, LLC, CCTS Tax Liens II, LLC, DSBD, LLC, Pro Capital LLC, David
  Butler and David M. Farber; 11) Plymouth Park Tax Services, LLC; 12) M.D. Sass
  Investors Services, Inc., M.D. Sass Tax Lien Management, LLC, M.D. Sass
  Municipal Finance Partners – I, L.P., M.D. Sass Municipal Finance Partners – II,
  L.P., Sass Municipal Finance Partners – III, L.P., Sass Municipal Finance Partners
  – IV, L.P., Sass Municipal Finance Partners – V, L.P., Sass Municipal Finance
  Partners – VI, L.P. (collectively, “Sass Entities”), Vinaya K. Jessani and Stephen
  E. Hruby (collectively with the Sass Entities, “Sass Defendants”); 13) Robert E.
  Rothman; 14) Royal Bancshares of Pennsylvania, Inc., Royal Bank America,
  Crusader Servicing Corporation, and Royal Tax Lien Services, LLC; 15) William
  A. Collins; 16) Isadore H. May; 17) Burlington Assembly of God/Fountain of Life
  Center, Mercer S.M.E., Inc., Susan M. Esposito, and David B. Boudwin; 18)
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  829258.2
Case 3:12-cv-01893-MAS-TJB Document 524-1 Filed 06/04/20 Page 5 of 13 PageID: 8174




  Class:

                   All persons who owned real property in the State of New
                   Jersey who had a Tax Sale Certificate issued with respect
                   to their property that was purchased by a Defendant during
                   the Class Period from and including January 1, 1998
                   through February 2009 at a public auction in the State of
                   New Jersey at an interest rate above 0%.

  See ECF No. 475. Following an unsuccessful appeal from the lone objector (see

  ECF No. 510), that final approval order is now final.

             On November 4, 2019, the Court ordered that the Net Settlement Fund of

  $6,447,970.52 be distributed to Settlement Class members. See Dkt. No. 522. On

  or about November 29, 2019, Gilardi & Co, LLC, (“Gilardi”), serving as the

  Court-approved Claims Administrator, distributed 287 class payments totaling

  $6,447,970.52 by sending these claimants checks to their last known addresses. See

  Third Supplemental Declaration of Kenneth Jue on Behalf of Settlement

  Administrator re: Distribution, June 4, 2020, (“Jue Decl.”) at ¶ 6. The checks had

  an initial stale date of February 27, 2020. Id.

             To date, 255 checks totaling $5,974,766.62 have been cashed, representing

  88.9% of the checks mailed by Gilardi and 92.7% of the dollars issued. Id. at ¶ 8.

  One of the outstanding checks, for $29,364.97, was reissued for a second time and

  sent to the Settlement Class member on April 14, 2020. Id. Two other checks, for



  Richard J. Pisciotta, Jr.; 19) Phoenix Funding, Inc. and Benedict Caiola; and 20)
  Robert W. Stein.
                                               2
  829258.2
Case 3:12-cv-01893-MAS-TJB Document 524-1 Filed 06/04/20 Page 6 of 13 PageID: 8175




  one for $20,636.61 and one for $58,101.66, will be reissued and mailed on June

  12, 2020. Id. Thus, $374,848.30 remains in the Net Settlement Fund, which

  Plaintiffs now seek authorization to distribute. Id. at ¶ 9.

             In addition to the amount set aside from the settlement proceeds to pay

  Claimants and other fees and expenses, funds from the Settlements have also been

  set aside to pay Gilardi. These funds are separate and apart from the Net Settlement

  Fund designated to pay claimants and are not part of the $374,848.30. On

  November 4, 2015, the Court authorized the payment of “[a]ll reasonable costs”

  associated with notifying the Settlement Class and Administering the Settlements,”

  but also required Class Counsel to submit “details of the costs associated” with

  notice. See Dkt No. 428 ¶ 4. Gilardi has incurred $197,513.20 in fees and expenses

  associated with administering the notice program and the settlements in this case,

  but has agreed with Class Counsel that $177,402.35 is adequate compensation for

  their work in this matter. See Jue Decl. ¶ 11 (detailing Gilardi’s fees and costs in

  the case). Class Counsel thus seek authorization to distribute these funds from the

  Net Settlement Fund to pay Gilardi for their services.

  II.        PROPOSED SECOND DISTRIBUTION/CY PRES DISTRIBUTION

             The Settlement Agreements do not address the best way to resolve

  distribution of any remaining funds. It is common practice in such situations for

  Courts to allow for cy pres distribution to charities who can represent the interests


                                               3
  829258.2
Case 3:12-cv-01893-MAS-TJB Document 524-1 Filed 06/04/20 Page 7 of 13 PageID: 8176




  of the class or to order a second distribution to Settlement Class members who

  have valid claims. See In re Baby Prod. Antitrust Litig., 708 F.3d 163, 172 (3d Cir.

  2013) (endorsing use of cy pres for distribution of excess funds when, among other

  things, the payment is “related to the class injury”).

             In many instances where a second distribution occurs, class members who

  made claims were not fully compensated in the first distribution round. Thus, a

  second distribution is preferred to a cy pres distribution. In re Baby Prod. Antitrust

  Litig., 708 F.3d at 173 (“[D]irect distributions to the class are preferred over cy

  pres distributions.”).2

             In this case, however, Class Counsel believe that the amounts received by

  Settlement Class members who filed timely claim forms and cashed their checks

  already compensate those Settlement Class members for any losses they suffered

  associated with the price fixing scheme alleged in the Complaint. A second

  distribution, therefore, could be considered a windfall, which many courts reject.

  See, e.g., In re Lupron Mktg. and Sales Practices Litig., 677 F.3d 21, 35 (1st Cir.

  2012) (“It is well accepted that protesting class members are not entitled to

  windfalls in preference to cy pres distributions.”) (quoting Klier, 658 F.3d at 475


  2
    The American Law Institute suggested that a settlement “should presumptively
  provide for further distributions to participating class members unless the amounts
  involved are too small to make individual distributions economically viable or
  other specific reasons exist that would make such further distributions impossible
  or unfair.” ALI, Principles of Aggregate Litigation, Section 3.07 (2010).
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  829258.2
Case 3:12-cv-01893-MAS-TJB Document 524-1 Filed 06/04/20 Page 8 of 13 PageID: 8177




  (footnote omitted) “[w]here it is still logistically feasible and economically viable

  to make additional pro rata distributions to class members, the district court should

  do so, except where an additional distribution would provide a windfall to class

  members with liquidated-damages claims that were 100 percent satisfied by the

  initial distribution”).3 Indeed, the Third Circuit has recognized that a cy pres

  distribution is appropriate in such instances. In re Baby Prod. Antitrust Litig., 708

  F.3d at 176 (cy pres appropriate “where all class members submitting claims have

  already been fully compensated for their damages by prior distributions”).

             Given the likely windfall that would result from a second distribution of

  class proceeds, Class Counsel recommend a cy pres distribution of all remaining

  funds, to be split evenly among the following four charities:

             1. Risklink.org. Risklink is a registered 501(c)(3) organization, which,

                among other things, provides free insurance consulting services for

                consumers with a specific emphasis on woman and minority-owned

                businesses. Further, it partners with other organizations to provide


  3
    Commentators have agreed that distributing residual funds to claimants who have
  already recovered their losses “necessarily results in an undeserved windfall for
  those plaintiffs, who have already been compensated for the harm they have
  suffered.” Martin H. Redish, Peter Julian, & Samantha Zyontz, Cy Pres Relief and
  the Pathologies of the Modern Class Action: A Normative and Empirical Analysis,
  62 Fla. L. Rev. 617, 639 (2010); see also 2 McLaughlin on Class Actions § 8:15
  (8th ed. 2011); Susan Beth Farmer, More Lessons From The Laboratories: Cy Pres
  Distributions in Parens Patriae Antitrust Actions Brought By State Attorneys
  General, 68 Fordham L. Rev. 361, 393 (1999).
                                                5
  829258.2
Case 3:12-cv-01893-MAS-TJB Document 524-1 Filed 06/04/20 Page 9 of 13 PageID: 8178




                educational and leadership opportunities for young leaders at universities

                throughout the U.S. including Rutgers, Monmouth, Rider, and St. Peters

                in New Jersey. Courts within this district have previously recognized the

                benefits of Risklink’s activities and awarded Risklink cy pres funds.4

             2. The New Jersey Citizen Action Fund (“NJCAF”). “NJCAEF is a

                nonprofit 501(c)(3) organization that works to empower low- and

                moderate-income people through research, education and training on

                public policy issues important to working families and seniors.”

                https://njcaef.org/?page_id=192. NJCAF also counsels homeowners who

                have fallen behind on their mortgage payments, as well as first-time

                homebuyers, free of charge.

             3. The Public Justice Foundation (“Public Justice”).5 Public Justice is

                national public-interest law firm dedicated to using litigation and public

                education to advance the public good. It litigates a diverse docket of

                public interest cases in the federal and state courts, specializing in

                socially significant and precedent-setting litigation. Public Justice also

                provides a substantial amount of assistance and information on a pro

  4
   See In re Insurance Brokerage Antitrust Litig., Civ. No. 04-5184
  (D.N.J.)(CCC)(ECF No. 2843).
  5
    Hausfeld LLP has donated money to Public Justice’s Class Action Preservation
  Project, which is dedicated to preserving the ability of plaintiffs to be able to use
  the Rule 23 procedural device, as have several of its attorneys.
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  829258.2
Case 3:12-cv-01893-MAS-TJB Document 524-1 Filed 06/04/20 Page 10 of 13 PageID: 8179




                 bono basis to consumers and attorneys who represent consumers

                 victimized by deceptive and unfair practices. Because of Public Justice’s

                 record of success and commitment to ensuring that cy pres awards are

                 properly used, numerous courts have previously directed that Public

                 Justice be awarded cy pres funds in consumer and other class actions.

                 See, e.g., Coleman v. Sentry Insurance, (S.D. Ill. No. 15-CV-01411-

                 SMY-SCW); Fishbein v. All Market, Inc. DBA Vita Coco, (S.D.N.Y. No.

                 11-Civ-5580).

              4. Legal Services of New Jersey—Campaign for Justice (“LSNJ”). With a

                 presence in each of New Jersey’s 21 counties, LSNJ is a leading provider

                 of legal services in civil matters, where there is no right to a lawyer, to

                 those New Jersey citizens who live in poverty.6 A substantial part of

                 LSNJ’s work is in housing (including foreclosures, an area directly

                 related to this case) and consumer protection.7 Like the other proposed cy

                 pres recipients, LSNJ’s mission aligns well with the issues of this case. In

                 re Baby Prod. Antitrust Litig., 708 F.3d at 172.

              In the alternative, Class Counsel recommend a second distribution with any

   remaining funds from the second distribution going to cy pres. The second



   6
       https://www.lsnj.org/CFJ/CFJ2019brochure.pdf.
   7
       Id.
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   829258.2
Case 3:12-cv-01893-MAS-TJB Document 524-1 Filed 06/04/20 Page 11 of 13 PageID: 8180




   distribution would be made in accordance with the Plan of Allocation approved by

   the Court, as was the first distribution. See ECF No. 475, ¶ 17. If the Court adopts

   the alternative recommendation of Class Counsel and Gilardi, the distribution

   would be made pursuant to the chart attached as Exhibit 1 to the Jue Decl.8 See Jue

   Decl. ¶ 11. For any funds that remain 180 days after the second distribution, such

   funds be distributed cy pres to the recipients described above in equal amounts.

       III. PAYMENT TO GILARDI

              Since inception of the case through January 30, 2020, Gilardi has incurred

   $197,513.20 in fees and expenses associated with administering the notice program

   and settlements in this case, including over $85,000 for the notice media plan and

   $29,000 for postage costs. See Jue Decl. ¶ 11. Among other things, Gilardi

   incurred hours or expenses for website development, database work, printing,

   claims processing, phone charges, project management, distribution set up, and

   check issuance. Id. Gilardi has agreed to provide a discount on their total fees and

   expenses down to $177,402.35. Id. These funds have been kept separate and apart

   from the Net Settlement Fund used to distribute moneys to claimants.

              Class Counsel thus requests that the Court authorize that $177,402.35 be

   distributed to Gilardi for the work performed in this matter. This distribution is not



   8
    As with the first distribution, the chart identifies each claimant by number as
   opposed to names for purposes of confidentiality.
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   829258.2
Case 3:12-cv-01893-MAS-TJB Document 524-1 Filed 06/04/20 Page 12 of 13 PageID: 8181




   part of the funds Class Counsel and Gilardi are requesting be used for either cy

   pres distributions or for second distributions to claimants.

   IV.        CONCLUSION

              For the foregoing reasons, Plaintiffs respectfully request that the Court

   authorize the distribution of funds cy pres to the recipients outlined herein or, in

   the alternative, a second distribution of the Net Settlement Fund to Settlement

   Class members who have submitted valid claims as set forth above and in the Jue

   Decl., as well as authorization to pay Gilardi $177,402.35.



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                                                 9
   829258.2
Case 3:12-cv-01893-MAS-TJB Document 524-1 Filed 06/04/20 Page 13 of 13 PageID: 8182




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                                           10
   829258.2
